Case: 1:15-cV-08130 Document #: 22 Filed: 07/13/16 Page 1 of 17 Page|D #:95

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

JERROLD DAVIS, )

Plaintiff )

v. ) Case No. 15-cv-8130

TARRY WILLIAMS )
RANDY PFISTER ) Judge John Robert Blakey
NICHOLAS LAMB )
V.P. CALLOWAY ) Magistrate Judge Mary M. Rowland
W. NICHOLSON )
GLADYSE C. TAYLOR )

JOHN R. BALDWIN, )
Defendants )
PLAINTIFF’S SEC()ND AMENDED COMPLAINT

Defendants having filed a Rule 12(b)(6) Motion to Dismiss, Plaintiff has elected to
address the purported deficiencies raised by that Motion by submitting this Second Amended
Cornplaint, pursuant to Fed. R. Civ. P. 15(a)(1)(B) and this Court’s standing order.

I.

Jurisdiction and Venue

1. This is a civil action authorized by 42 U.S.C. § 1983 to redress deprivations under color
of State law of rights secured by the Constitution of the United States. This court has
jurisdiction under 28 U.S.C. § 1331 and 1343 (a)(B).

2. The events giving rise to this Second Amended Cornplaint occurred and continue to
occur in Stateville Correctional Center, Which is located in Will County, Illinois. The

Northcrn District of lllinois, Eastern Division is the appropriate venue for this action,
pursuant to 28 U.S.C. § 1391 (b)(Z).

II

 

Case: 1:15-cV-08130 Document #: 22 Filed: 07/13/16 Page 2 of 17 Page|D #:96

11
Plaintiff

. Plaintiff Jerrold Davis is-»and at all times relevant to this action has been-in the
custody of the Illinois Department of Corrections; and he is currently contined at
Stateville Correctional Center.

111
Defendants

. A. Det`endant Tarry Williams was at various times mentioned herein, the Warden at
Stateville Correctional Center. He was legally responsible for the day-to-day operations
at said facility and had personal knowledge of the various conditions that are the subject
of this Second Amended Complaint.

B, Defendant Randy Pt`rster is the current Warden at Stateville Correctional Center and is
currently responsible for day-to-day operations there and has personal knowledge of the
various conditions that are the subject of this Second Amended Complaint.

. Defendant Nicholas Lamb is at all times mentioned herein, the Assistant Warden of
Operations at Stateville Correctional Center and has personal knowledge of the various
conditions that are the subject of this Second Amended Complaint.

. A. Defendant V. P. Calloway was at various times mentioned herein the Assistant
Warden of Pro grams at Stateville Correctional Center and had personal knowledge of the
various conditions that are the subject of this Second Amended Complaint.

B. Defendant W. Nicholson is the current Assistant Warden of Prograrns at Stateville and
had personal knowledge of the various conditions that are the subject of this Second
Amended Complaint.

. A. Defendant Gladyse C. Taylor was at various times mentioned herein the Acting
Director of the lllinois Departrnent of Corrections. She Was legally responsible for the
Department of Corrections and for each of the institutions under the Department’s
jurisdiction, including Stateville Correctional Center and~on information and belief--
she had personal knowledge of the various conditions that are the subject of this Second
Amended Complaint.

B. Defendant John R. Baldwin is the current Director of the lllinois Department of
Corrections and is legally responsible for Stateville Correctional Center and--on

 

Case: 1:15-cV-08130 Document #: 22 Filed: 07/13/16 Page 3 of 17 Page|D #:97

information and belief»~he has personal knowledge of the various conditions that are the
subject of this Second Amended Complaint..

8. Each of the aforementioned Defendants is being sued in his or her individual capacity
with regard to Plaintiff’ s prayer for monetary relief.

lV
Exhaustion of Administrative Remedies

9. On June 25 , 2015, Plaintiff filed an emergency grievance regarding the deplorable living
conditions to which he has been subjected while confined at Stateville. Plaintiff alleged
that the roach and mice infestation, unsanitary showers, broken windows, mold, leaky
roofs, contaminated water supply, a lack of cleaning supplies and dilapidated housing
units constitute known, substantial threats to his health and safety. Additionally, plaintiff
alleged that the radiurn and alpha emitters found in the drinking water provided at
Stateville are the cause of his leukemia. (See grievance attached hereto as Exhibit A.)

lO. Plaintiff used the emergency grievance procedures available to him at Stateville
Correctional Center to try and remedy the issues presented in this complaint When the
emergency grievance was denied plaintiff appealed the decision to the Administrative
Review Board. (See Administrative Review Boards response attached hereto as Exhibit
B.)

11. On January 16, 2016, Plaintiff filed another grievance protesting the contaminated quality
of the water that is furnished to him for drinking and washing, noting that from time to
time the Water that comes out of the tap is brown and ruins clothing that Plaintiff washed
in that Water. Plaintiff s grievance requested relief in the form of' plumbing repairs,
replacement of ruined clothing, and medical treatment The Stateville Chief
Adrninistrative Officer denied that grievance on June l() ,2016. (See grievance attached
hereto as Exhibit C.)

Count I
DELIBERATE INDIFFERENCE TO UNCONSTITUTIONALLY
INHUMANE LIVING CON])ITI()NS

12. Plaintiff realleges and incorporates by reference paragraphs 1-11.

 

Case: 1:15-cV-08130 Document #: 22 Filed: 07/13/16 Page 4 of 17 Page|D #:98

13.

14.

15.

16.

l7.

18.

19.

2().

21

The inhumane and unsanitary living conditions that Defendants have knowingly allowed
to continue at Stateville Correctional Center constitute a violation of the cruel and
unusual punishment prohibition contained in the Eighth Amendment of the U.S.
Constitution.

As specified below, Defendants have knowingly deprived Plaintiff of basic human needs
and have exposed him to serious harm.

As specified below, Defendants have failed to take sufficient reasonable steps to protect
Plaintiff from known, substantial threats to his health and safety.

Defendants have failed to provide Plaintiff with the minimal civilized measures of life’s
necessities, in violation of the Eighth Amendment.

Defendants continue to subject Plaintiff to contaminated drinking water; infestations of
vermin and insects; unremediated mold; and a willful failure to provide adequate cleaning
supplies The totality of this variety of unsanitary and inhumane conditions constitutes a
deprivation of basic human needs.

Contaminated Water Supplv

F or a substantial number of years, and continuing to the present date, Stateville has
provided to inmates, including Plaintiff, drinking water that is contaminated

T he contaminated water supply at Stateville is for inmate, employee and visitor drinking
lt is also used for the cooking of all food prepared by the kitchen.

On information and belief, Stateville’s water supply includes excessive amounts of
microbiotic contaminants such as viruses and bacteria, inorganic contaminants, such as
salts metals, pesticides and herbicides, such as various water runoffs, organic chemical
contaminants, including synthetic and volatile organic chemicals; which are byproducts
of industrial processes, petroleum production and radioactive contaminants

. One specific contaminant known by Defendants to be in the water at Stateville is radium.

When water containing radium is ingested, a portion of the radium can remain in the
bones. Radiation given off from the radium due to its high energy can cause damage to
the surrounding tissue. Defendants know that a dose of 5.c/ l ingested over an extended
period of time can cause or contribute to the development of bone cancer.

 

Case: 1:15-cV-08130 Document #: 22 Filed: 07/13/16 Page 5 of 17 Page|D #:99

22. Another contaminant in Stateville’s water supply is Alpha Emitters, which are erosions of

natural deposits and are also carcinogenic.

23. Upon information and belief plaintiff alleges that he contracted Leukernia due to being

exposed to the radium and alpha emitters contained in the drinking water supplied to him
at Stateville. Plaintiff also reasonably fears that the presence of such contaminants in his
drinking water will aggravate his medical condition and/or adversely affect his prognosis.

24. The Stateville water supply is also known to contain excessive levels of lead and copper.

25. Regardless of the quality of Stateville’s water at the point it enters the facility from the

outside source from which Stateville obtains its water supply, by the time said water
emerges from the Stateville plumbing system at the tap located in Plaintiff s cell it is
often dark brown, malodorous and, on information and belief, unfit for human
consumption or for use to clean Plaintiff’ s clothing

26. Defendants have been aware of the contaminated water supply and/or plumbing problems

for a substantial period but have refused to take adequate reasonable steps to correct the
problem. Numerous suits filed by other inmates have alerted Defendants to the water
problem. On information and belief, numerous Stateville staff have complained to the
Administration about the water impurities and the Administration supplies bottled water
to staff so that they will not have to endure the conditions to which Plaintiff and other
inmates are subjected Defendants have knowledge of facts that should lead them to
realize that there is a serious health problem.

Bird, Vermin and Insect lnfestation

27. Defendants have allowed numerous birds to fly freely throughout the various living units

and cafeteria, dropping feces.

28. Wild birds are generally known to carry various communicable diseases through the birds

themselves as well as through their feces, such as bird flu, fungi, lice, mites, parasites,
spores, and various toxins, all of which can cause varying human bodily injuries

29. The bird population presents a commonly-known disease risk from organisms that grow

30.

in the accumulation of bird droppings.

There are several fungal diseases from bird droppings such as:
A: Histoplasmosis ~ This disease is transmitted to humans by airborne spores.

 

Case: 1:15-cv-08130 Document #: 22 Filed: 07/13/16 Page 6 of 17 Page|D #:100

B: Psittacosis ~ A rare infection characterized by fatigue, fever, headache, rash, chills
and sometimes pneumonia

C: Alvealitus ~ Contracted by inhaling particles of bird dander.

D: Avian Influenza ~ Transmitted by coming in contact with infected bird fecal matters
E: Campylobacteriosis ~ Bacterial infection that causes gastrointestinal problems

31. Plaintiff also avers that there is a vermin infestation that is not controlled at all. Mice
roam in and out of cells regularly, including in Plaintiff’s cell. There are massive
infestations of roaches and spiders as well as other bugs that are in inmates’ cells and the
shower area.

32. On June 20, 2016, Plaintiff began to experience sharp pain in his right ear. He reported
the pain to a night nurse and was seen at sick call on June 23. He was given a pass to see
the urgent care on June 26 to have the ear flushed. The nurse at urgent care subsequently
removed two (2) roaches from Plaintiff’s ear canal. As a result, Plaintiff continues to
experience ear pain, interference with sleep and psychological damage Plaintiff has filed
an emergency grievance concerning this injury.

33. Defendants have been made aware of the birds, vermin, and other pests. Numerous suits
filed by other inmates have alerted Defendants to this problem. On information and
belief, the Stateville Administration has been required to respond to complaints about
bird infestations filed by various Stateville staff with the Illinois Department of Labor
and the U.S. Occupational Safety and Health Administration, so Defendants are well
aware of these unhealthy conditions

34. Whatever efforts Defendants have made to alleviate the infestation problem have been
inadequate and their failure to increase their efforts in light of the persistence of the
problem manifests deliberate indifference to the substantial health risks.

Inadeguate Ventilation

35. The air circulating around Edward House and individual cells comprises ions that are
thick with dust, hair, pest and bird dander, airborne viruses and wool fibers from state
issued blankets.

36. The circulation of this type of air has been a constant assault on the Plaintiff` s respiratory
system, thereby exacerbating the problems associated with his asthma.

37. The vents in numerous cells are covered with steel plates preventing any air circulation

 

Case: 1:15-cv-08130 Document #: 22 Filed: 07/13/16 Page 7 of 17 Page|D #:101

38. Defendants have been made aware of the inadequate ventilation but have failed to correct
the problem.

Refusal To Provide Adequate Cleaning Supplies

 

39. l\/lany of the individual cells at Stateville, including Plaintist cell, are dirty and
unsanitary as a result of Defendants’ failure to take reasonable steps to assure that
adequate cleaning supplies are distributed to inmates on a sufficiently regular basis to
maintain cleanliness.

4(). Dust is one of the most produced elements in any household The amount of dust and dirt
flowing from cell to cell has produced dust mites, which reproduce by the millions.

41. The failure to provide adequate cleaning supplies where the cells are dirty and dirt is on
the walls and floor creates breeding grounds for dust mites, as well as other disease
causing micro-organisms

42. ln most cases, once a week plaintiff is afforded the opportunity to obtain disinfectant to
clean his cell. Said disinfectant is placed in a mop bucket Plaintiff must provide his
own container for the disinfectant if he wants to clean his cell throughout the week.

43. Moreover the mop bucket of disinfectant is supposed to supply all 29 cells on Plaintiff’ s
gallery, but that amount is never sufficient to enable all 29 cells to be adequately cleaned.

44. Continuing to supply inadequate amounts of cleaning supplies manifests an intentional
indifference on the part of Defendants to the unsanitary conditions in which Plaintiff has
been and continues to be confined

45. Plaintiff has made the defendants aware of the lack of cleaning supplies, but they still
have not taken corrective measures to abate the filth and unsanitary cells.

46. The inmate showers in the living units are hazardous because colonies of toxic green,
white and black mold are allowed to grow in, on and behind the bath tiles.

47. The known side effects of toxic mold on a human beings’ health are substantial The
most dangerous side effects include chronic delays/delayed reactions that are a result
from almost daily exposure building up over time and can range from neurological
damage to the risk of cancer from exposure to certain mold toxins in the air and water.

 

Case: 1:15-cv-08130 Document #: 22 Filed: 07/13/16 Page 8 of 17 Page|D #:102

48. In a grievance response dated August 21, 2014, the Administrative Review Board
acknowledged the problems with the showers and cleaning supplies at Stateville. (See
grievance attached hereto as exhibit D).

49. Nevertheless, the Defendants have not taken reasonable steps necessary to abate the mold
growth in the inmate showers.

Prayer for Relief
For the aforementioned violations of Plaintiff s rights under the Eighth Amendment to

the Constitution, Plaintiff respectfully prays that this court enter judgment in his favor and award

the following relief:

50. Compensatory damages in the amount of five thousand ($5,000.()0) per each Defendant;
51. Punitive damages in the amount of ten thousand dollars ($10,000.00) per each Defendant;

52. Damages for physical and mental suffering in the amount of twenty thousand dollars
($20,000.00) per each Defendant;

5 3. Plaintiff seeks a jury trial on all issues for which a trial by jury is permitted.
54. Plaintiff also seeks recovery of costs and reasonable attomey’s fees in this suit; and

55. Any additional relief this court deems just, proper and equitable

OMMCCG/ c/]ru§éé)

Jerrold Davis, Plaintiff

 

Case: 1:15-cv-08130 Document #: 22 Filed: 07/13/16 Page 9 of 17 Page|D #:103

I, Jerrold Davis, declare under penalty of perjury that 1 am the Plaintiff in this Action,
that 1 have read the above Second Amended Complaint, and that the information contained

therein is true and correct, based on facts known to me and/or on information and belief.

Executed this _ day of July, 2016.

jr tar/dd DC¢ ah 0

Jerrold Davis

Plaintiff’ s Attorney:

John J. Murphy, Jr.

Of Counsel

Hennessy & Roach, P.C.

140 s. Dearbom street 7“‘ Floor
Chicago IL 60603

(312) 346-5328

jmurphy@hennessyroach.com

 

 

D£PAR\’“E.NT QF CQHRECTEONI

case: 1:15-¢\/-08130 comment #: 1 l=‘l&“%“sm§sremlg§ 19 or 28 Pagelo #;1

` otitmdar: § `: a h ` j gika- 01 R,`ifj

CHQP' 1'15-(‘\/-08'| 20 Dnr‘rrmr:nt #; 22 Fg!ed; 07/]_3/16 page 10 Of 17 page|D .10
l i?

 

 

 

 

 

 

 

 

    
 
  

o.l LL“_¢_| 25 \,5 (F“IS‘ Fltn\)
$Nsc\|>=acltlty: 1 "~J Factthy when grt¢vaneo "
S_`§(Airomtt¢ bqu wmvl\n
NATURE OF GR|EVANCE: ` s
C . ., _ -
m Personat Property g Mait Handling C] Restoraweéesqt§i¢i ij ADA DISAD\\HV AO¢°mm°d¢W°“
L'] Stalt Conduct C] Dlarary L'_t Medi Traarmam " f C] HtPAA _ , ,
U TransterDenlal by Faciltty 13 Transtar Dar\ial by Transtar rd§~@t§r 3 t) '] \ E/Othert»mrrr Q,;M)
,\ , _` v ,
[] Dtacipltnary Rapan: l I ` 4

 

   

°‘“°‘““"°“ mr

No€¢= Protactive Cnstudy Dartlats may be grieved lmmod\ataly vla the local a ` ton the protective custody status uotthcat\mt.

Comptote: Attum a copy et my partth document turn n a nl¢ctpllrwy R»por¢; norman mard, qth and sand tea t

G¢urud¢¢. umw the lawn tnvutvas ductplln¢, ta secured an mergmuy. or ts sunset to direct review ny me Admtnrsuauva aevraw errata

emma mem early lt tha lmra lnvcl\rel elade lt the present tmtlity or tsuua nat resolved try camden
' “EHGBN¢V qr

chld Mmlntumlul omc¢. u_rw l E_ l~vv\“- _ _
Administrative umw sand mty lt the ram umwa transfer dental by the man C®rdlf\awr._w°\°°““ °““\°‘1¥- "‘"°’“"““V

admlm`¢tra\'ton d plyd\otmpio drugs. luna imm another tactlity except porsmat property tasuas_ or turns not resotved by the Ch`w¢

 

 

 

Actm|nlitmtiw Cttb¢r.
Summlry ot m‘ thrown ' “‘ q 1 '(" -‘ ot mm ._" »‘ when ordman tt mpprud, nut ma mm or tammth itrlorrn¢l.itm _
ku uch person

 

\)~ Tlo rnii_r~cjk, f r\r\zvinr`\ r'§i\_)'£leo \~Ll\>pn~";i/RQA`:A\$_:.`M

r}_c§';»." fha Alct.r.¢r_\,~..,-MQ j/\nrttt&.\t)néidu%.'\m

inv job h ca ibv\/MAxa.l>)C\/v\r£ w /M\a;>dn)~)\$(l»(j<km_

t_m .A.i.'ae,, blind 3 advantage stanwntrma .‘4<; M,,L%
(`»`W\D_.;_x\om\o/n'k' ino~ha.,t\f gc ` 0 .

f`n"\rh‘;dnf amu,()b~aqzi.nh\_u ‘i;)\a...“\@)qhgr_u 911ka "k-\’“-*~ .,}""’Ll"*°"
fruile ik ~\~L on (`m"'kmmt-,.A<BA)CG n\_ t,_mkcu._</)r>,u rtqu , kiti`r:ts; mm ______,_.
» _ . ` ' \\ <;}' O k
was rim ,~.m. \,\,ms; mead \<.nt¢t»_…) AMA¢L>Q¢=~
W deem umwa beckman lee
rtttlt¢tv` 4-A "U\n.,.n,.._jn.n,t_,h>ii/\J:> l xiii ir -'¢:i..l` r»-nut chain ,(tn"&__
M£LAJA .l,t!t :~i)~.d;\t; 01 our mda/mn i/\:_i:x`ibq_.?'i<
S(r‘§tan;r\(l¢,) . C 0 O C) j

[§/Check only ll this rs an EMEHG.ENC¥ grlavamce due lo a nubwtntiat risk ot imminent personal injury or other serious or irreparable harm to salt
l
l ind R O\ch'7 iO/Z_S/\S
l los oar»

.
g (¢mnnu.anrmmtwtrmogm'q) ` .:

l Counnlor'¢ Huponn ¢u munij

 

 

 

 

 

 

 

m
mlvbd: l ' l m S¢nd dlrw!ly to Gtievtmo¢ Oltrr:ar [:] Outstde jurisdiction or mls lacrlity. Send to
l Ad'ntntetlatlvo Rsview Board, F.G. er 19217.

spmgrtdrt' ,sr. 62194~9217

 

 

 

 

l l
Prtr\t Ceumlor's Num- Gourtsabr's Stgnatum Dit¢ al R¢‘p°"“

 

 

l ettena£rtcr aevrzw y J

bill / /{
R°Cliv¢d= _Z.L_ _ / m mta deterran m be ot an emergency naturs'r f_`l vaa; expedite emergency guarantee

N; an emergency to not mandated
Oltendar snow lubmlt min grhvrmco

/*%/)§' »Em§:r;gw/ '*'WL: ` a:;\mde/;/A/ j_ //_§/

Dtttl

 

 

\_/
Diltnbutkm: Mai!er Ft|¢', Qttandqr P.g¢ 1 DOC 0046 (8I2t)12}

; -`-' huh-mm t\¢»»kl| hp:t EXH|B|T

3

__________-_-

 

Wm¢f
OFFEN\)EW S GR|EV.\NCE (Con‘llnued}

» ' ' ~- Case: 1:15-cv-O813O Document #: 22 Filed: 07/13/16 Page 11 of 17 Page|D #:105
Case:1:15-cv-08130 Document #: 1 Flled109/15/15 Pagem 20 of 28 Pag`elD #: 20

 

bnitk. q'§)ua_.rbno 'l`\_ghé=,_\~¢`\)f\./~A`

  
     
  
 

_i;r\r\o \ )-€‘)C¢n.._} koha.
(`hmcu)~r)<). \\JL¢‘

  
  

 
     
 

. , " ` , ' - .t- , ._4. v -

U~»MLJ '§"A entide r\_¢\') nw MoAt¢-.¢A~\ r?'\¢tj<..» LAer

LL\M \)>')Jf\m ‘X\>rr ..\'kka Q'itr»t'_mr: Cim-/ll`)c:.tmm

Rt'_t`t\£}n\ (‘t/~r\n\a fink L/.¢\l 01>‘);.\‘£"1 nw d
\.)

NJ r\OAM\~\¢ r\r\¢:£>§raro( A\b ¢nl_

\thrin\§_i<_.> doM'ro_,\¢tm,‘khnM grid
M___s_i#kl;\n\l%r§m 591 tLS Zot'~l.

,€ZLQ;*AQ_. C\.ddaridtn_..r-\o&\,cl\§c r ¢-. va

_&M_Lmhlh tx M)KOMAL_LW '\"¢`

\
`%h T~D~ ij L»'- \,v\J\r-¢\rttnl»d h~‘kn`i;o 1

an_@\zr$\ I' a\\~r,

\`MMA.\)$;Q;\\A} OM§CM‘K\LM¢~ nAo.-ttt."‘f’Q_J 0
` =.a+;,ni- familiar \~n

¥AL/`-A:o. ._o ,"iil\rt§: ry~r\t}\ G(rtioed_m'\ranl Lh)/i LNM)WM_HJB-Q-'_”‘
___r_{"-.~r\r)\ "lt mt ) 1\)\) {' QFH\AMQ,-r\a,¢:k MMS§W

alic>!/\A'r admitij Lm\-\ \/LP..

1 global-diet ntch j£ar\m,;~\) '\t'., op
' ' 3 rel \§»,non CA,r\lru~ H..~L m_)_._..__....

\-J \\ QMMA')SM
tM 'il,`d \m§'ir©¢~t-,LN col§_.lnmtl`or~) _ a'n_rz kfan
arn/§ \r~r§\k_nrn.r,,ira r._)r>i,.~>©fe \Anz:`rc' DLLMM_Lmafl-LN°~A
mma.l"`d_u\) \cmtkw§&mcMLJ,rWYi-LM

@.j§\~ ir\mth\/. "Ur\n_»-) lr\ort_o §

iv i`lr\q.§:‘ %'jin§.n “i\n_zss ]‘erun\nh\ Qrl\j)s,r vA/Lotoirhort) rt)_
C\L¢:Jl‘n~¢~d,.d k I'L_n fLL-E-F---

0
_Lm_¢,_(_ae&\/ /Rm.t>€ q\g('_,\f 2-2-'1‘[\ r‘\~\z§\ 111 \D\ ma
cr..) ¢‘M¢\vm.. klm§_;%m~)_

CD¢~<-t@§_ofa§_tt Aj~u\nr=o¢}\!irhn \'\anug;~:~) \g]~tmu.=l.i,.~¢~

~kl,\hit %k,\j';q H§J~rz_. {\mr§]cg\ licle 1106€&1\§;'~¢\/9_,¢\,<1 k\nrs)

tct_». /C_AAM 434 fmkg_”»{kL ¢»~r~rLr L§_€:>»\n¢-_->hi w t
, w ,\ m 11 NQ<-L¢M

§ .Q genius/31 qm,m@r>(tci iqq%\ Q'd't._o:,tmr\\iut. ‘Ur\n_ Co\&

  

kim l¢)l/\¢l~d tt'k.

<5
(‘tjln) hah-_°-JLW-

Q¢>¢,<L)\qrrb J\,SLA
t_a; 0 l _,\ , '\’.,

o h)`_> \ .=)ko \':`Likr_m>

m A<\) nia"k'd_
O.
\»-Lrl¢_z) _A_k (`mLozs\.

,M,L<\P d

 

6
{'\.(\n’ mt§"mL \r§rtp¢h‘t &La tug h )F`lli)

_hi,n)a rim \`rrn wm r\,.-\n\ z>¢~'\ol§t_r.> lc)mmi.

   
   

..._ t.

. J. ". ~r.»- ~ . ,
\)` l \~ , k)l\SL rx\n,m \.h:rtr\\ n;r\a

(‘tr?n-rn "k\\ r,.r\ g*'\t‘q u>,t n\r)\=&_t¥r-,L\ Erj"`}\.-<r_r.un.h') _>¢\r\v’ln_\n.'>)'\.\rn¢hak) rvv\z.ra¥

§r\omn) r~m»L& »~,-LQW
. ‘ _.g" ' ' ' n

\`“\~Ti’kh Adm'; N~/\A'\i(\lt:hn)`) meg{l§>

 

 

 

 

 

 

U\\-L?~ur.\i aunt hn;'\'g\hn,| '\‘lr\ § :\‘l lt (§..L siglan Als~k i..._drnr‘.'§`t,p\<,>
cb \)
flfLQ!,w‘& grun¢rr;)rm. f\»'~'klr..-¢-.»\J\..AI~>\H\D +\!‘i\»‘\ \'L'"\_)"' k':\-'L" q` PL"° M
<">
' ' ' 0 ;s~nru~`,&\ r»~\,.~\ m~.‘i"

 

 

.~.i_\§,'r r (ai<\.sv.'dn§
C t l 1
minn mich t>.A n c¢é\h)

W,,{’C )`e ..~.r>r.)tr_\_u Lxg_d_,__-_
\ e_>

 

 

»\.GA\"\A . 1.9~ h\)\)»¢‘ t\r~<u"}\ H’Y\é;-'>\ é
\=§`ka§rn `SL )\_]r\n§t r"\,n,r 9~\¢»¢°_,£_*¢'\)0}\

anJ‘La¢> 'i')n,. .§\ "f'_)f\t‘.t_ {",n~`-\n\'i.'t \.¢\D') rj©
_<"§

lida Y\r~j§ LD~nAt\z~ri-\.o \.J'L_'>/`

.. 3

 

Page 2

D“:|rlhrrlk\n: Maater m:O"M\drrr
hunt r-r lr'..r.k¢hr'

116 f\!\».l oatnrm~r\ro \

’\ 0 ..g: mg k\-k¢‘§;o.-.\\La__

Z) `I\q/)§‘§'ht*r iA/t\,.,~l\ . r¢t .9.,:` '

  

 

 

 

h.unoul owen foam 05 Colu\é.c'rloml

Case: 1215-cv-08130 Doummdh$mt§¥¢@§?§§/l$ Page 21 of 28 Paue
m:l_\,`,am, :Z.S ~\5 ZT=:°.'»`I`;.'».L., .§:g»>wzak BW ’ R v 01 il“j"`?

. . Document #. 22 Fl|ed. 07/13/16 Page 12 of 17 Pag g§j; 1057
l

 

 

 

 

 

 

 

 

    
   

 

 

Pmmsu=m‘ty: <j} - l Fnalmy wmata gri-vane-
\-___kz\ scast § 1 \“u»va=onod f >t¢._');.a_.¢vi ’La
NATURE QF GRIEVANCE:
. . c:"‘
Cl` Persona\ Prapeny E] Ma;l H-;m¢ung ij mem~,r;,gialiv§\é% %§HF,!, '= C| ADA msanmly Accommodallon
[] Sl.atl Condual _ E] Dle;my 13 umw Traemnam iv CJ l-llPAA _ _ _
['_'] Transtos- Den|alby Facilsly [] Tmns|el Denial by Trans|ac c ldil.\é§qr §\ 13 '_.,F__'l 1"*,. l E/ther sworn ng\_w)
C] osaalplinary nap<m; / L /‘§ -` t db > ' '€ § "°
Dal» el Rspo¢\ IA§?'_ la bin-lid

uaw mcmann cuemdy manuals mey be assessed lmmealexasy vle ma local a muellan on ma F¢°\€°“"° "~L“i‘°°¥ ““““" "°*"‘°"‘“°"' §

.¢a. ) end sand los

law by me As.lmil\lslrallve Ravlaw Bo¢.\ld
Coumlalot.

complain walsh l copy al my pertinent downum leach n a olena!punery mpo¢!. indus-mun awards
callahan unlau mem’ * *‘ ‘ " h‘ .orlssub|e¢:lwdlract rev
Gd¢v¢n“ oman only ll ma luna lmolvu ¢l¢asplln¢ al lh: pmm leasily or sum nor resolved by
chid Mmln|¢lrl\lv¢ am a_nhli¢ !.|AE!\¢IBN ¢‘l annum
Admlnlmnvl flaum anna only if ma wm hymng candor mm by mo Tram\lor comdmezc.r pwl»cl'lv¢ aussouy. \nvolunwy
:¢nlmdu:liu\ g poynhonogiod man damnum …secmly assumpli pap¢ny lees.»n. ac samuel not resolvadb yln¢ Ghiil\l_
um ua va maa,

 

Sunu¥ll\ry 0¢ allowance Provld¢ ln|om\¢non manning l deasnpdon of nmu mcpanod, when and where ll h»pp¢s\¢d, mm ma memo or wanmyh\g intounasian

m..d'r

M`\Lm£ru~m/L l‘ eweaw c>l k)_a \A?.gn.\§i lznamd_k_» ll$-\'\Ltl~»
l w
l>r~.-¢-\AL _\(\a¢\§,§_`,_)t\ v.\\c_;\'[ '\AJ`LLM W-q¥

bulde (`1 am am
<_’_§

.d_‘d M~*+"Ka' la_'\.jr\l`¢-j,\ 1 r-.ln'§;,e"1 Qp‘¥h_<:l... nlnum-r\rg~.t‘m[i 411 1‘-'”"\3 nj
‘ ' b ho(hrl.W mf'°ll'k)'\-Q-a

mm ahle§.e)FoMM-L,.Q\L ~k_)\a_.. Y\\`,)N.¢h'_. lnwp¥; “&_y\,.a@$;.a.&=a\’~__é_»'____
\ _ <3 <;`.l . _

 

 
 
 

 

 

sa..l».n»\__...»_s.aa¢ " L_,.¢ 1 ;~)C .-.;».}__ wall C/\’\Ml¢

&\(`10°“ CL.P_/~\~au» _,\_Hl assa]\u plem._k `:\Saa _}r\*<§>¥j;vxbc_.<a?k
<‘ \J C) <:5 `

` ' ' ~.¢ \_ 0 4.>
E/?:hecll only ll msa le an ellench gmvanaa due la a subawulel risk al immin'anl personal lmury or omar umwa or mcmanus harm co sesl.

ama ’RO\§“?"? '(olz.o§l\f>

(c¢muno¢ co mm ddt lt nuc¢“.l'p,) _,

::L

 

 

l coun“lcr'¢ Heapan“ m epplla-vl¢») l

~ ‘°- »--/97- /§ 010 ~

. ` l l l 165 m Sel\d dila¢:!|y lo Gnevanc¢ Omcar l:] oulside lunsdicl'\cn ul this lacslily Sand lo
Al',iulnls\rilllv¢ B¢vlov¢ Board, P. O. aaa 19277,
Spnngtinld. ll. 62194»9271

 
  
 
 

 

 

., 0 .. _ l
W¢/£ af/¢/';La lhar‘»'/~/l»¢c_ /7) .é’¢ [’¢:401`;/¢’/ W/¢“
t ,/40/3¢~¢ %,/>0.\ %yaa. A<»,@; 0 51 //¢ / aa/L"

 

 

 

 

pnmc°“"“|°' ‘ N“‘“° ' (/¢auna-|c"¢ Slgn¢lum m d alma
[ Eueaaaucv navlew ]
/
W*'°d= '/ / ’ 5/ la mls nelsonan la ne al an mugancy nalum? C] veal uspvww ~“¢'o*“=v w'¢v“'“=~
` o; an emergency il nn| iunslanua!»d.
<OHmdal N\OUHI l.bm|l mdl glhvanca

%W//z/_// M ,::~.::"»~M> a ,/5 '

mut Amnjoisl'l,iv"¢ otich Ssgnalul¢
.‘ _4‘

\./
D&lu’\huwn: Matwl Fl|.; Otlorsoar dpw 1 DDC 0046 (8¢'2012)

h....-._s.;».\ ue.,.w.l l~.v¢.
f ' . vq .

 

 

~* "~""~'~C@\S€f 1115-CV-08130 DOCument #: 22 Filed: 07/13/16 Page 13 Of 17 page|D #:107

-` Case: 1115~cv-08130 Document #: l F

iied: 09/15/15 Page 22 of 28 Page|D #:22

wm D¢vAm'\¢erH of Comcnout
OFFENDER‘S GH!EVANCE (Continued”) ~

 

B_r.)\.ko.,_,; "\1»\/15` rY-v\.‘_}\ 0(.1.:';§ wl,)»; L_b\/(__)-¢L¢»;'L_)\_Q-' l\`¢.bc.>»u_£Lj AJ\;)\/t~ Q
<`_> ¢H;`l AL;)I_M:Q><L{,Q ._)~~k_\'\h 0»- '_\

 

(' .‘\Y\r\\ ."`);. 1-“1_~.3 g»{ C rn~/\/\
<\_ x

(\;Nm! C:/\"rx¢tto_.j`\h) LmL/¢\ \/`f\~‘

 

L\.xJL'L)C.,- <’:`\_`\CLQ_J h G__ }\(\121» kL\~\.~¢\ `) (\¢ ;F"‘_

 

 

 

 

    

 

;\“\r'\ o \Ajf\kn>_." !\ny\ n 4 r.j_§_~a_$ A')Lw-\,L.&,_\.L_. runa\J .)J°`»\"\_r_r ;;~r\_) ’ll', C 1a \Lz>
(`hmf Q_)\) ’) \»\ l`¢ Lh'\_& ' ¢‘ ' ‘ " 197ij ¢J \Al\na_; L`,Mc)l~.._» (`1.,~.¢\¢'£ \/Y‘\
_r~r~nm!\;“' (‘,('~ z>§>.h_) 710,,__‘ LLJ~LQ}>) r""’ _\m\)-r~._o) m~c*\ noloqu ihnm.\d_/\,.»d: \'\4»)¥\-:7'$

 

w)ml- &\0_1 I\AA ch>jL'r)w\\;;~\ Y\c_, W)>}\ LA) \.JQ¢_ pye-us 51 klan rla 1\'5/1

 

J\L~\m vr_>_)f\m °;\dn‘,,k ‘\Ma_. Q1L)-L/¢\._,r\
/_
K¢J"M/\/. man Y`Ln): L_~\) o¢d;A'BCL 1~“\_,

. 1 } ») _ _

/

_u.l r- &0»._,.1`1\.~ A‘.,=r,>hln,g( mw m

\M ”\L\Q__J \ v~ru\; mlz\. C c 1&1\/1,-.11\¢¢3)

makah \1§;\@ hmo’f'n mr:uMlQ

\

§1\ 1
§

\L}=_¢’ ' \’§"n"‘s;€lu~n\‘u_J (\`_L\j N § hand 11'.:1§`

‘(1.»/¥_¥\11[>.°~&"!.`\
§ §§

\Kh')(;¢;n@(xl czam‘j;`n_,\r¢_.-.,"\'k\cm h

KKI~AQH\S*.§LS &o._k~§h q%i§hhm 301 \L& Z_C\'~l 'Kc>%i>\€\¢\\ j\M

_<z:fLm»._.:¥»Q_J dea_culg‘\;a WA~*\,¢~,~.S\ t\.r.x~,¢..

§§
_LA_“_(_U§`_\/ \m¢~.é '_)Lo('_,\fz/Z'_Zq\ 01~\$3\¢14\ \D \::0>1.\_)\)

\AY\J.j-';_> Lr|[x§\_.k}\.l`_~ l¢)*\/\RM} .LK

C‘:¢‘q~._.rll k,; m 1>‘: nn ed

K{W’C Qm) \LWY\_A.N‘IM m\¢l\vLaL.a/\
A~n lt‘kn¢-LL,:..>'Oj"\<~u_, (\,_,\ao nA ) 020sz
\¢_s.QgL;_)\J\_}\_J..\-L. imm ,L_"`Q.L amper 1;)1;._.¢

&J_A;~_Q `B_QQ»¢\J {

\An,.\bb\$z;¥;§_¢z./]/\QMM (rs\_.\¢\-$ta_{/lr\ lr~.,,l_‘§

\;g}r\_¢\>)\}~’\mb) c A\M£~a)L,/ (`1,,\,1`__ mle

rs`cla)j‘d\r\ ir‘\_!_z"‘t_\'~\}_»~l~\¢ wm 1 lr\o:\_c?

m.)u r~‘LQ;£“AQM wl L-AAQ¢./- "'§_2~.

. -\ what wilth

)~”L.mc¢\ ¢‘»-j~

;\'L\a;~LQJ} S'\QJLL§

. \_) _
CRLQ 1 o a~`-. dz_,..\};` r~Ln rJ\L,&.______._
\ »SL(I \:>L QQLAJW

 

»

¢`5”\'

 

C_|>\¢-¢_L_@\o i'o§lx § Ajmm_r>__n (§` '¥kc\ \r~\r,\ h §

 

"" ac:k` maf-

(‘Ma in ¢._ vile \A, a,`\@)>¢>fhj~\nk_<k_z
AAA QL”)-m 1 \D..LN>
<3

_bMLX’)j.;;.) \»\Ju_:\ rv\_) A,¢q\\ ¢>w\nAL¢-.) 111/nmi
\_`) O

\ §§ \
%a¥i;.cr-_S!_ (‘1-\\\¢ `L¢_>T'b().¢/.\,Mn‘§;w 1\‘5; ‘§`n¢ \_`,Lo_>- _»;_ji F¢s~¢LQ
-KAA¢.;‘»; __>5;¢\5;~.~“9..@ ANA/c?\ 41 C-1 /§,c\m&;M\/Q_/\K_\ P\AL\)

\`M-_,\.\'\for\;`~.l M`\C..°!C;Jmhg.x AAQAAA)“X'Q.

.' ` \
grewle Knru'>un;>§ )`L"SL_Q. u_% Lo$c\(lf|`?§b. Q‘c»;L._ ama §\QJL ')C\f\L

51 ‘r\m LL$.' ’&;4> ._\'~`4“,¢_$‘\ Mzh&> éb\.a._. k,\}~g£;c\> ':X')~‘\n.'§c~ c,<)--'\n
Sr\_¢no‘hn r-r\.~i`.»Q ¢\Q}'\/\»\' »\JA© m3 “¥i¢\¢ \n/>\

¢:)`_¢S»_§`L_$LA.)`J (*m§'\l`L/L¢_L _L)g__;;;a,-.AAL¢W '\"h 0.,) \ ila

mQ]`\m\-¢A_l.-`r\ runan A.Lp~“t'l~l

§

  
 
 

0`..\... ~¢.

cod§
J

c‘.\§\'JL¢SUJ~\LL') `_>*1\¢!.1'1 a.L_> lm~r~. plus 129 prsz a_.,

') m‘_j; :tj\g

Ond \1>/~(-:§\' a vL_¢-w) 'h.~_`> U»\&

aug /Y~\L')\'" l mr

 
 

jr J

 

hx~r.\j`; rum/h \.\¢ <.- \->,\_\ Lc__,\c>aa§._ '\m bn 'hUu-&c

<_) \
1\1}\0 \`\J\‘l'_`tn_.g§`- rml-35 El».r\A \).\Uln} ) r~’\»k a

 

k__

 

 

 

lve-";a> `_>BLQ,~ \,1_.7\:1:~»:§\-§ 1 \}¢\¢,L_ linn \Q_')\J.S
olmsy..gn¢,~bJ f`dr\_,"€. m.~._) »-\1,\~’\: :\1 ,.rLJ "'>`\1\__¢-\,£.,” r§-_.u\j'~ l-l’n~fr“§w_)
\
("\'j\¢€u~_,.» § C'_D\L_\¢-,Qz>) Nv\ (’\A':$c;lr\,.¢-\Aj:\_* J\r’kl;r?. J\A\ § \¢-/’\`)'\‘]’\"\)' § ¥J‘ “
\"§;A)/~¢-¢`.

 

rlzs\ s~.\§ n \`i Q mm ms ~\4&. /‘~v~.--\g '\

mi m-\Q_C> \\GJ

 

\{")\A \L,,\-L_,M \l\\ h 1014 1

 

 

 

 

 

 

 

 

 

 

 

Di-.mhlmnr\: Mns\~v "`Ft:; OHFr\d"r

rum-4 z-¢~ r¢-g_v'.kg l‘»¢»'

x‘l

_)’\QJ-`» md l §_ T\A_gyb" \c>.,j§» rr-v . m\n,.)q 1 ink r:»_AI vi ._\ 14 ¢""Q )\<1 Qd~»-l.‘>n)\ l'§J_ R!~rf°)
) C‘§\ 43 \.J c~ _ A"'_>Q
-==/c/\ \'.:.aL.`Q _L H-\n k ¢\,.,\.\ Q'\n d k_)'\j’\_) (‘/.~c\c (\1\ .~1 n A . ,~~.(\ C`)\ \ r\-x~ cl
o
§§ . - \‘ _‘\ g a__.
O._J( TLQ_¢= '§`)»\,, S\*t)r\§.`_ (`.¢>~<\o\¢b\;_l\r\ L»_') rvL) (` r~.¢ l 4){\¢~ 1,4,\_5.~' )f\¢hc__ .) LA.,? 1 '3\-°1'1’\
.. ,. 7 , , q .

l"‘\ ~B\ CMA;\¢- 1,\‘£' \ .J`L`> r~’) \ Qzl§"i'.\k') 1/1\~'{\ \, '\“°.13>` 1 §.~`¢-\o AlT<`/\ J`~\f\
wyl:§`.[vvn -R¢)_§‘/ id \{ n di y.£l;_)./;_f./vv\¢.~ n

p 7 ooc. ¢~MF mn‘n‘ "!

ego .

 

 

Case: 1:15-Cv-08130 Document #: 22 Filed: 07/13/16 Page 14 of 17 Page|D #:108
Case: 1115-cv-08130 Document #: 1 Filed: 09/15/15 Page 24 of 28 PagelD #:24

s

‘ \Lunoxs DEPARTMENT oF Coaaacrlons ' l \q
1 Administrative Review Board €\_ ~

R'etum of Grievance or Correspondenc_e

mem ring Qe(/<>/ l m £01§77

Lasi Name First N_ame

Faoiiity: ' §\H:{q`@' Ui H€/ /
¢Grievance: Facimy Grlevance# mappncame) _d:Date _,__ _/Z§ 1 ij ij $‘*~~'~'"‘""”"° “"~‘
Received J?J 2;§§, 1 5 Regarding: f lpg/tdi h W"`{ g\{:i€z>’/€~ " L/_ {`:‘_(§:'_`

The attached grievance or correspondence is being returned for the foilowing reasons:

 

 

Adciitionai information required: ' l
` Provide a copy of your written Ofiender’s Grievance, DOC 0046, including the counseior's response §1’ app

Provide a copy of the Response to Offender‘s Grievanee, DOC 0047, including the Grievance Ofticer’s and ChiefAdministrative
Ofl'icefs response, to appeai.

  

Provide dates of disciplinary reports and facility where incidents occurred.

  

[]C] D[]

Unabie to determine nature of grievance or correspondence; submit additional speciiic interim
grievance or correspondence with the additional information requested to. Adnmusuat~e 7;1;
Oflice Of lnii“i&ié:' assocs
1301 Concordia Court
springrreid, 1L 62794»9277

 

 

 

Misdirected:
Contact your corredional counseior regarding this issue.

s_

Reques! restoration of Statutory Sentence Credlts to Adjustmeni Commitiee if the request is denied by 11 1e iaciiiiy, ctiiize the
offender grievance process outlined in Department Rule 504 for further consideration .

Contaot the Record Oflice with,your request or to provide additional information
Personai property issues are to be reviewed at your current facility prior to review by'the Administrative Review Board.

Eil:|l] i:l[i

Address concerns to: liiinois Prisoner Review Board
_ 319 E. Madison St. SuiteA
Springi'eld. lL 627'06

 

 

 

No further redress:

l:] Award of Supplemental Sentence Credits are discretionary administrative decisions there ‘ re tnis issue witt not be a~.';;:.:'elfed

 

 

further.
, Not submitted in the timefrarne outlined in Department Rule 504; therefore this issue will not be addressed iuitiier.

}:) This oflice previously addressed this issue cnw 4 ing
Daio

ij No justil§cation provided for additional consideration

Ofiieftspecim: %Mjw /’il?(?/? C{j' b%/RD€€M//L Ai/?F/ :7@0/})1“

 

 

 

 

 

ij
mmm __Sm_m WW.,MM, ll 1115
’ Prianamo 1 . 7 s|°nM am
._ ’\
_Disi!ibution: Oii’ender " _
inmate issues ”""*"°" wmde EXH|B|T ccc orr/o (Rev.¢/zma)

__   3

 

 

 

Case:1:15-c\/- -08130 Document #: 22 Filed: 07/13/16 Page 15 of 17 Page|D #: 109

EXH|B|T

 

 

 

 

 

 

 

 

 

 

   

 

e1 l l l
" -."1'1.1'lj`l'l'(l' ll‘ lll unammipmm§moemmscmm r:_` § §l_{
3 1 l-ll' ‘ orrannea‘s emevmce ¢_,-l
.' - » . , BHond¢r: f r ~_.___ v (_. mm -1) _ '_`,- 7 7
/ ’/ l-’-’ ' l 1'11’ 1111»»111111_/l(,1“'“1 11 ill l./i:.o,l 1a l§l?'lf - l
smmFl¢“H , , l'f m n _:-~ ,‘ '_;me.m ‘f‘ - 7 ,! 7 _ , b‘,., h 1 /'-{-'q" 4
ll :>l_/,-L`l‘t”..ijl.llll; luncoouunod: _`>`l'il_'ll~:l{ l}lll ll 1/ t l(l'/l`(l_i.. l“lt. 113
names oF amavmaa=
[] PersmaiPwpeny ij 1111-trimming [,'i Rasiomiimoieoodnme [JADA olsabm¢ymmmaaaum
iii emrcmdue E] army El Meuwmmm []111=111\ I\z';'/{Qr_q¢ ;- ,_
El Trmslorbamdvy Facili\y [f] rmndeoamalhyT.-sndarcmdinmu gorman l l
t
m a llll allll lllep°lll Blll\*°l\llw:¢l| _ " Fo:a‘iii'ywimi»ngdl 1 ;-L) :,' t_;i,=:,-

blow Praieclivo Cuslody marion maybag\'isvad irrimadlatnly via ina mill edminialraiinn on ma protective custody smiF \;ca` 1.

Compld¢; Attalchlcopyolmyp¢dn¢mdowm~mmu¢ninl¢\;mmmlh¢wmmord.uc;llnd undltd:" -_-

human dworken-lummus hummmmaolmv. munmlamvciremwlawvyina£clhi\mlsuaiiwnwwm;fd
Mmhm.mtvlrmnsmmmpmomrupmmimuiyarhmmrmdvymdér.

Ci\id minimis thtoir. ark l E||E.BGENGY
samth loomis amy il tim lmra modes iransilor denial by tro Tro_nltlr Coominaror prolecriva cmiody, invoimiary

mmwa~dpqdmropkdnm. moran mmizdilyucsplpmnnaipropenyimm wimmsno\rasolvmvythecmal

guir=- grown ' ' ' 11 _' dunn ‘umnumm¢nmwu»d.¢mmmuimmglnglnmmion

lll:?lll'lll\lllll l)U illllil 1111: li).r'ile“rr 11 ll -l'rt;i/llr'r‘;rr' (_ltt»'l!'ll !"l'll/l`l'l,lf' ll.-l/E¢.’L‘f ”l'f ill/dill lllllllllll
:l_/t'r’ law lll:11'1'1l11'Ll L§_(lll"§ 1_1;>'1 lllll.l»l, llli,Llll“’lllll~~lll1 ll'llll‘~l 'l~llllllllllllll
11111' (`111§1'1€_; ` 51 rllr';'ll 1111 l'1»l lC‘lllll'l'l llll‘ llll“lll 1lllll llllllllllll
1'?11`l1’l<"~'-llllt labor 1'1111"(. ll llll'llllll/ lll-l'lll ll"lllll’ll/ llllllllllllll`l llllllll
~1:9_1‘1 11111-1_1’11€ ' 1111-1115 l11/»"ll~c)1ll11 1111 l11'll11111 tr\»r‘”l_l
_l\_,-nl 111 91)~1`»_11§.1 1_11‘.1\111 laid 1311 /1~l /Mj\.l 91111-'1»'11’-'l111 §’9\
llr_lll ll l11 1111 ll lill‘»;li 1"111_1 L./_.mrl” lu ,. cfr-nl 1111<,111\1~111»1
\ ~ ll l 1 Jl' l l
1111»11 1111'1111€1111'1»(1 fr 11 1111/ll lli“"ll l lll”'l `lllllll ll”lll"lll“
11 HL[_-i 1051 ,1"§1 ll.l,’lllll") ill llU-/l

 

.,

 

 

 

l.`l" l.-lt;l.l.l> 1'll1ll' 'l,`lfl `l`ill"{,l‘l{‘i-l’f? llrl"{l ly')¢»F`)f,_)
_-¢“", ` ii
“lll"'"f_°“'_“°‘l lQ l"ll ill lill "lllllfl‘~li ll "l l»’ lll'l ll-’ -l/lw’lo l/l'r,r_tct nfl /(./.1 /11‘1', ll
1`111111111<'1 1111 11:~_:»11~ 1111 1l11l11; ailmeer

 

 
 

l
'H . 253 11 1 _ 11 'élél> l/ 1 lér il 111 '>/1' r’¢’¢{l/l ll 1111 ll 111€11'1’“
[] dwelliy|iihloiun£li£n&£iic'f movemede limitater imminent pm\alin;u¢ycr oti\orsa¢iomorlrwpamdeham lar-alt

'J' ///l[/lVQ?/W_ll/A/ D/?L(}{l>@ ¢lU[:};il/l/ /l 1;§[¢£/;§?

(uf*|lmmli.lnmuwg_`l

 

 

l llc?*l'u\’lv/

l couMor'» mspon¢¢ 111 ¢pwrurg¢i l

mm .
Hmlv¢d: QQL L Q § 1 olZO[é 111 ama army m odom allow i”_"[ emma 1111de umw many am 10
meantime am mm F.o .am¢ 19211

Spdnqlhid, iL 82194»[!27}'
111 r w@lw1 ,§ilesle_c/QJ~ l/e 1~€/,1=,"'11,’1#¢//=11¢/ marie ill 1541 owe +Awm,/)

lie ,'21;1?€§ 19-@1’ ‘Hre, C}rr°el* 514.,»1€5@,' Wardl€iul/[le ma leaf ?‘5 l~r'?$)l/ll r U-,MM@,OFML_
111191~11"41199 11 lie lea leaf 0111~'¢@_1/11// `7;1:’ /er€/s al m,~/, 111111 ore mill/11
lll»li-¢Jl"}'lwrr “.5 1113 flle § rcrale; llr’ 591-1@

M so m worr(@;acefcw'r 5111.§51111 filed

f L,lr /9°&11»1»5 €~&/ J/ 531 011121:'-/<;

  
      

 

 

 

 

 

 

 

 

WI Nlml f wanton Slgrmnrro fan ot illopcnn
1 essencech navraw 1

nolo

Racll¢\l'edi l 1' la thin ‘ ' md m al al an _ , naimo? [] ¥en; expedimamargency grievance
L__I Nu; an amlrgonny h not cowaan
murderde limit thin grievance
in the mind marina

,. { l

Chili Aminnr¢o'v¢oikcli"l Sigmhn mci
Duirbui|ont milk Fih'. miami P\go 1 DOC 0048 lBQDlEi

Nmedmi|os)\~\o¢ .'qxr

 

 

Case: 1: 15- -C\/- -08130 Document #: 22 Filed: 07/13/16 Page 16 of 17 Page|D #:11€_(_)(-!:,l

ll_mes DEl=mmem 01 Cor<'lEchons
RES PON 5 E TO COMM\TTED PERSON’S GR|EVANC E

 

,..._...._

Grievance foicer‘s Report |

Date Reccived; 3 _231' Date of Roview; l Griavanw #1=11111:1111\1‘1: '1'513__,_2___~

IH

 

Committsd Person: Jen~old Dav`ls lD#: RO'|‘J?"/'

Nature of Grievance: Conditions - Water

Facts Reviewed: Grlevant complains that the water is unsafe. He states the waller turns brown and he wants the plumbing
erd, reimbursed for his clothes and medical treatment

Stateville water is from a municipal Water supply and is tested on a regular basis. Per the Chief Engineor, the
Water is tested on the receiving end once lt has gone fhrough fire pipos.

Grlevant fails to provide any evidence that his clothes were ruined by the water.

Grievant is advised if he has any specific medical concerns, is he urged to confact medical staff.

Recommendntlon'. :\lo ncti€m.

 

'\
111-111=‘.1.1131»-.1 aim 3 .__, l}l/llll‘lplll) ll\/lll:?;l_p

Pr r?. ;}rief»»':'¢’.).: Dlihr-.:`.'x PJlame /_ml l'_`.rir=.\:.=lnce 05.'~:1.~1':; fifrj:mlarc
(Aliac,h n copy nff` ` ' Pur'soo's l inclun`lngL ‘ '.e 1' , lf -- ,_ ‘ ' )

 

 

 

 

Chief Administrative 0fficelrls Resporlse l

Date Rec:elved: __éd/g///l/____ D/|c;oncur |:I ldc nutr:rmcur :{ Ren'.:-.lnd

Commants:

 

 

,' '/' _,,
{g;:z\_ 191/zweig
' H -1‘ ',.DMF ' -_

 

 

/

i 1 pommitted Person s Appea§ To The Dire\::tnr l

lam appeal ng twa Chiel /=jndr‘mtr¢- 11\1\* Oftil l~:r:l decislr'ln fn the Ui' adm . models-land this apueal 'nL:S be subm llch million _le mays nfl¢~=r lhu date of twa
Ch;ef \.d"un ';trrsli~l= O|'l i;:e\ 5 deci§iun fn 1|1-:- 1"\1.!1*1§113 etre-live Rcii¢~.w E»-_‘;xre_l 1’. 0. Bo;< B?-‘T? prilgield .L 132794 92?7. ’ l/\Hach a complle tow D¥’-he
original grievancn. including the l:l\uum§lor' s rusponsc.-, |f app!'l: able and any pedlnem zim muenls}

/lF/Y‘%?`/l/ l'll ' l /llll illé'l§" § ‘/_7’//}:1

111=` P‘e.' on 1519113111\'¢. lE`-f¥ |'.‘:\le
{_,/lll

 

 

 

 

 

film L~d,uil;'l" ¥\.=lnsir:l i-lL-; Ecm‘nl:lell l"u‘.:;m l‘ag»: l

 

1’;1r_1:11111: lmde r1 \i:'

 

   
  
 
  
   

4 §

illinoisl
_Department of
Co'r'r_ecti`ons_

'Case: 1:15-Cv-08130 Document #: 22 Filed: 07/13/16 Page 17 of 17 Page|D #:111
Case: 1:15-cv-0813O Document #: 1 Fiied: 09/15/15 Page 26 of 28 PageiD #:26

FAT ouiNN

Governor

S.A. GODINEZ

Direct_or

1301 concordia court 1 `P.'o."eox 19277 1 spiin`gneiét 11_ szr's`¢sz’rr / Té"ie";ihone:' tim 558-22111)"/ Too: 8001526-0344

4OtfenderName: /-D\/e 1

theme
1111010 '

Register #

Facility.

' This 1s in response to your grievance received on

Date;

 

litigate -

510§1¢_!

.This oftice has determined the' 1s`sue will be addressed without

a formal hearing. A review of the Grievance, Grievance Oih r/CAO response to the grievance has been conducted For a

grievance that' 1s direct review by the ARB, a review f the Grievance has been conducted

.g_l_[@ Grievance _N1.41n"1ber:1= z?q /_ Gri_ev Loc: <

Your' 1ssue regarding: Gn‘evance dated
O Transfer denied by the Faciiity or 'i'rans'fer Coofdinator
O Die'tary

 

O Personai Property'
0 4i1/_iaiiroom/Pubiications'

O Assignment (]ob ceii)

0 Athrmed Warden is advised to provide a
written response of corrective action to this office by

-' O Denied, in accordance with in504F. this is_an
administrative decision.

O Denied this othce hnds the 1ss1.1e was appropriately
addressed by the facility Administration. `

O
0 Denied 111 accordance with ADO§. 03. 103A (Monetary
Compensation for inmate Assignments)

O Denied as the transfer denial by the fac1i1tyfi' CO on
4 Was reviewed iii accordance Wii’.i'i
transfer procedures and is an administrative decision

O in addition propc_ity items are to be disposed o'f 111

awordance with DRSOt C.

FQR THE B_OARD£
8 rry Benton 1

dmini ive Review Bo`ard

cc Warden ;<S+A 57 in /L€

/D 1/1 Lt h/'/ 11 to .-Regisier No.

4 ` l \
, ' @ 01111=11 bi LU?
aweaw
Baséd on a review of all available information, this othce has determine your grievance to be:

0 Denied as the facility' is following the procedures

ozhent'<it tim i 5 10`i2¢ii13 ii'$ 1111 owicm mndmd$)wtd
child/11 nmi/tommy Statevilo. is omaha 1111 mem

".:Rv y WiM\-Mcueeeo-

Corre"ctionai Center'

_di_.r>¢<$`€ __

ii

 

O Com`missary

 

Trust Fund '
1 v Conditioi'isl'(ceil conditions,‘cleaning supplies)

0 Discipiinary Repor`t dated
' incident #

 

nci U‘LCAJ,

outlined' 1i1 DR`525 4

0 Denied as Ceil Ass_ignm'ent/Housing 1s consistent with
` the D_epartrnent’s determination of the appropriate
_ Cperational capacity of each facility

Denied as procedures were followed 1n accordance with
DR 420 fo`r removal/denial ot' an offender front/for an

. assignment

0 Denied as this othce tinds no violation of the offenders

due process in accordance with DR504 80 and
DR504 30. This othce' 1s reasonably satished the

~ ottender.committed the oftense cited 1n the report

O oemed-as the se¢umy'stanare renewing the
' established schedule for dispensing cleaning supplies

to the offender when possible

wci/1

445/t

write

V_ S.A Go’dinez
11§//?/

Diréctor

EXH|B|T

_Q_

  

 

 

